        Case 24-31497 Document 51 Filed in TXSB on 08/06/24 Page 1 of 4
                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas
                    IN THE UNITED STATES BANKRUPTCY COURT                                ENTERED
                      FOR THE SOUTHERN DISTRICT OF TEXAS                               August 06, 2024
                               HOUSTON DIVISION                                       Nathan Ochsner, Clerk

In re:                                          §
Hugh P. Shannonhouse                            §   CASE NO. 24-31497
Debtor                                          §        Chapter 7

                  AGREED ORDER GRANTING RELIEF FROM STAY
                         (This Order Resolves Docket # 45)


         U.S. Bank Trust National Association, as Trustee of the Lodge Series III Trust
(“Movant”) filed a motion for relief from the automatic stay against Debtor’s property
commonly described as 2706 Andrew Spring Ln, #528, Spring, TX, 77386 (the “Property”).
Movant represents to the Court that it had served the motion in accordance with all applicable
rules and provided notice of the hearing. As shows by Debtor or Debtor’s counsel signature
below, Debtor has agreed to the requested relief. If there is a co-debtor, the co-debtor failed to
file a timely objection to the proposed relief.

       Accordingly, it is ordered that Movant is granted leave from the automatic stay of 11 §§
U.S.C. 362, 1301 to pursue its state law remedies against the Property, including repossession,
foreclosure and/or eviction.

       The stay imposed by Bankruptcy Rule 4001(a)(3) does not apply.


     Signed: August 06, 2024




                                                                Eduardo V. Rodriguez
                                                         Chief United States Bankruptcy Judge
         Case 24-31497 Document 51 Filed in TXSB on 08/06/24 Page 2 of 4




AGREED TO AND APPROVED BY:

/s/ Troy J. Wilson_____              /s/ Anthony Schroeder
Troy J. Wilson (SBN: 00786356)       Anthony Schroeder, Esq. (SBN: 24106407)
Wilson & Asssociates, PLLC           GHIDOTTI BERGER LLP
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COUNSEL FOR DEBTOR                   COUNSEL FOR MOVANT
     Case 24-31497 Document 51 Filed in TXSB on 08/06/24 Page 3 of 4



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Attorney for Secured Creditor,
U.S. BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF THE LODGE SERIES
III TRUST


                     UNITED STATES BANKRUPTCY COURT
               SOUTHERN DISTRICT OF TEXAS – HOUSTON DIVISION


In Re:                                              )   CASE NO.: 24-31497
                                                    )
HUGH P. SHANNONHOUSE,                               )   CHAPTER 7
                                                    )
         Debtor.                                    )
                                                    )
                                                    )
                                                    )


                                CERTIFICATE OF SERVICE


         I am employed in the City of Plano, State of Texas. I am over the age of eighteen and

not a party to the within action. My business address is: 16801 Addison Rd, Suite 350

Addison, TX 75001.

         I am readily familiar with the business’s practice for collection and processing of

correspondence for mailing with the United States Postal Service; such correspondence would

be deposited with the United States Postal Service the same day of deposit in the ordinary

course of business.

         I hereby certify that a true and correct copy of ORDER AGREED ORDER GRANTING
RELIEF FROM STAY has been forwarded by U.S. Mail, first class postage prepaid, hand
delivery, and/or by electronic means on August 6, 2024 to the following parties:

                                                1
                                 CERTIFICATE OF SERVICE
     Case 24-31497 Document 51 Filed in TXSB on 08/06/24 Page 4 of 4




Debtor
Hugh P. Shannonhouse
2706 Andrew Springs Lane
Spring, TX 77386
Debtor’s Counsel
Troy J Wilson
Wilson & Asssociates, PLLC
8019 West Grand Parkway South
Ste 144
Richmond, TX 77407
Chapter 7 Trustee
Ronald J Sommers
Ronald Sommers, Trustee
1400 Post Oak Blvd., Suite 300
Houston, TX 77056
US Trustee
US Trustee
Office of the US Trustee
515 Rusk Ave
Ste 3516
Houston, TX 77002
Parties Requesting Notice



        I declare under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct.

       Executed on August 6, 2024 at Addison, TX.

                                                            /s/ Anthony Schroeder
                                                            Anthony Schroder




                                               2
                                 CERTIFICATE OF SERVICE
